Case 3:16-cv-00288-DRH-SCW Document 31 Filed 10/26/16 Page 1 of 12 Page ID #211



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS

  CAROL EASTERLEY as Guardian of the
  Estate and Person of MARY LOU
  KUSMANOFF,

                Plaintiff,                                No. 3:16-cv-00288-DRH-SCW

  v.

  MICHAEL BURGETT & LYNDA
  BURGETT,

                Defendants.


                                    I.     INTRODUCTION


         Carol Easterley (Mary Lou Kusmanoff’s daughter), as Guardian of the

  Estate and person of Mary Lou Kusmanoff, filed this diversity suit 1 against

  Michael Burgett (Mary Lou Kusmanoff’s son) and Lynda Burgett (Michael

  Burgett’s wife) on March 18, 2016. The two-count complaint alleges the Burgetts

  fraudulently deprived Mary Lou Kusmanoff of access to funds belonging to her

  and converted said funds for their own benefit. Count I seeks an order directing

  the Burgetts to return to the Estate of Mary Lou Kusmanoff the sum of

  $160,000.00 and the title to a 2014 Chrysler van. Count II seeks an order

  directing the Burgetts to return the person of Mary Lou Kusmanoff to the State of

  Illinois.



  1
    Carol Easterley and Mary Lou Kusmanoff are both citizens of the State of Illinois. Michael
  Burgett and Lynda Burgett are both citizens of the State of Texas. The amount in controversy
  exceeds $75,000.
Case 3:16-cv-00288-DRH-SCW Document 31 Filed 10/26/16 Page 2 of 12 Page ID #212



        Presently before the Court is the Burgetts’ motion to dismiss for lack of

  subject matter jurisdiction (Doc. 12). Also pending are two motions to supplement

  the record (Docs. 22 and 25) and a motion to quash subpoenas (Doc. 29). Based

  on the record and the following, the Court ORDERS as follows:


        The motions to supplement (Docs. 22 and 25) are GRANTED. The motion

  to dismiss for lack of subject matter jurisdiction (Doc. 12) is GRANTED. Further,

  in light of the dismissal, the motion to quash (Doc. 29) is GRANTED.


                                 II.    BACKGROUND


        According to the complaint, between December 2014 and March 2015, the

  Burgetts entered the State of Illinois and fraudulently deprived Mary Lou

  Kusmanoff of access to funds belonging to her and wrongfully converted said

  funds for their own benefit. Additionally, the complaint alleges that in March of

  2015, the Burgetts entered the State of Illinois under false pretenses and removed

  Mary Lou Kusmanoff to the State of Texas.


        Thereafter, on April 17, 2015, Carol Easterly filed a petition in the Probate

  Court in St. Clair County, Illinois, alleging Mary Lou Kusmanoff is a disabled

  adult and seeking the appointment of a Guardian of the Estate and Person. Lynda

  Burgett filed a cross-petition for Guardianship. Michael Burgett entered his

  appearance as an interested person and filed discovery responses identifying

  himself as a respondent.
Case 3:16-cv-00288-DRH-SCW Document 31 Filed 10/26/16 Page 3 of 12 Page ID #213



        A bench trial commenced on December 2, 2015. Mary Lou Kusmanoff,

  represented by attorney Brian McCarthy, was present at the December 2, 2015

  bench trial. Additionally, the Burgetts were present and represented by their

  attorney, Jack Cranley. Testimony was taken and, on December 3, 2015, the St.

  Clair County Probate Court continued the matter until March 1, 2016.


        On March 1, 2016, the bench trial resumed. The Burgetts’ attorney was

  present. However, the Burgetts and Mary Lou Kusmanoff failed to appear.


        Additionally, on March 1, 2016, the Probate Court in St. Clair County,

  Illinois entered an order restraining the Burgetts from proceeding in any other

  court other than in St. Clair County on issues relating to probate and

  guardianship involving Mary Lou Kusmanoff.


        During the bench trial, the St. Clair County Probate Court heard the

  following evidence:


     (1) Testimony from two physicians, both of whom opined Mary Lou

         Kusmanoff suffered from mild cognitive impairment, short term memory

         loss, and moderate dementia. Additionally, both physicians opined Mary

         Lou Kusmanoff was at an increased risk of manipulation and pressure

         from others.

     (2) The oral report of Mary Lou Kusmanoff’s Guardian ad litem.

     (3) Evidence pertaining to Mary Lou Kusmanoff’s moderate dementia, short

         term memory loss and confusion, and severe physical limitations
Case 3:16-cv-00288-DRH-SCW Document 31 Filed 10/26/16 Page 4 of 12 Page ID #214



     (4) Evidence pertaining to Michael Burgett removing funds in excess of

         $700,000.00 from Mary Lou Kusmanoff’s bank accounts and placing the

         same into bank accounts in his own name and Lynda Burgett’s name,

         thereby converting the funds for the Burgetts’ own benefit.


  (Doc. 19-2 pp. 3-4).


        On March 6, 2016, the St. Clair County Probate Court issued an order

  adjudicating Mary Lou Kusmanoff a disabled person and appointing Carol

  Easterley Guardian of Mary Lou Kusmanoff’s Estate and Person. Specifically, the

  Probate Court concluded Mary Lou Kusmanoff “was as of December, 2014 and

  continues to be a disabled person due to mental deterioration and physical

  incapacity who is not fully able to manage her person or estate, and further

  because of her disability she lacks sufficient understanding to make or

  communicate decisions regarding the care of her person.” (Doc. 19-2 p. 6). In

  reaching its decision, the court made the following findings:


        [Mary Lou Kusmanoff] is subject to undue influence by Michael
        Burgett and Lynda Burgett. There is clear and convincing evidence
        that the Burgetts have, in fact, exerted undue influence over Marylou
        Kusmanoff beginning in December 2014 and continuing to the
        present and have converted funds belonging to Marylou Kusmanoff
        for their own benefit. Carol Easterly has made no attempt to
        influence Marylou Kusmanoff’s financial decisions and has offered
        evidence in her dealings with Amoco Federal Credit Union that she
        can provide sound assistance to Marylou Kusmanoff in the position
        of Guardian.

        It is in the best interest of Marylou Kusmanoff that Carol Easterly be
        appointed as the Guardian of the Estate and Person of Marylou
        Kusmanoff.
Case 3:16-cv-00288-DRH-SCW Document 31 Filed 10/26/16 Page 5 of 12 Page ID #215



  (Doc. 19-2 p. 6).


        Two days later, on March 8, 2016, the Circuit Court in San Augustine

  County, Texas issued a Temporary Injunction and Order prohibiting Mt. Moriah

  Health and Rehabilitation (where Mary Lou Kusmanoff is presently housed) from

  turning her over to any unauthorized person (Doc. 12-1). On March 18, 2016,

  Lynda Burgett was appointed temporary guardian of the Person and Estate of

  Mary Lou Kusmanoff (Doc. 12-2). On April 8, 2016, the Circuit Court in San

  Augustine County issued an order restoring Mary Lou Kusmanoff to her full legal

  capacity (Doc. 12-3). The Order further directed Carol Easterly to turn over any

  and all items belonging to Ms. Kusmanoff (Doc. 12-3). The Texas Circuit Court

  issued a permanent injunction on April 20, 2016, prohibiting Carol Easterly from

  taking Mary Lou Kusmanoff from her Texas residence (Doc. 12-4). On June 14,

  2016, the Burgetts’ attorney contacted Carol Easterly’s attorney regarding the

  April 20, 2016 permanent injunction. The email states as follows:


        It is believed that Carol Easterly is in Hemphill, Texas and is
        attempting to personally contact Marylou Kusmanoff.

        As of approximately 10:00 pm, June 13, 2016 the Mount Moriah
        Health and Rehabilitation Center has issued a NO TRESPASSING
        NOTICE directed to Carol Easterly.

        Should Ms. Easterly step one foot on the Mt. Moriah property…, she
        will be arrested and cited for trespassing. You are also well aware
        that there is a permanent injunction prohibiting Ms. Easterly from
        attempting to remove or displace Ms. Kusmanoff.

        The Sabine County Sheriff’s Department is well aware of this notice
        and they are prepared to execute its enforcement.
Case 3:16-cv-00288-DRH-SCW Document 31 Filed 10/26/16 Page 6 of 12 Page ID #216



         Should Ms. Easterley currently and actually be in Sabine County, I
         suggest you advise her to leave immediately.

  (Doc. 22-1).


         On July 26, 2013, Michael Burgett filed a motion to remove Carol Easterley

  as Guardian for Marylou Kusmanoff pursuant to 755 ILCS 5/23-2 in the litigation

  pending in the Circuit Court of St. Clair County, Illinois (Doc. 25). That motion

  alleges that Carol Easterley has repeatedly mismanaged estate assets and has

  taken positions contrary to the wellbeing of Ms. Kusmanoff (Doc. 25).

  Additionally, on July 13, 2016, Ms. Kusmanoff gave an oral and videotaped sworn

  statement in which she testified it was her choice to move to Texas initially and

  she wants to stay in Texas (Doc. 25).


                    III.   ADULT GUARDIANSHIP AND PROTECTIVE
                           PROCEEDINGS JURISDICTION ACT

         The process for granting guardianship occurs in state court. Accordingly,

  we have more than 50 different systems for adjudicating guardianship matters. 2

  The guardianship process becomes especially difficult when guardianship

  questions cross state lines, such as when more than one person applies for

  guardianship of the same person in different jurisdictions. Historically, there has

  been a lack of guidance regarding how to resolve dueling interstate guardianships.

  Additionally, state courts are not required to give another state’s judgment on




  2
    Sally Hurme & Erica Wood, Introduction, 2012 Utah L. Rev. 1157 (2012) (“In the United States
  we have not one guardianship system, but fifty-one and more, with tremendous variance from
  state to state, court to court, judge to judge--and guardian to guardian.”).
Case 3:16-cv-00288-DRH-SCW Document 31 Filed 10/26/16 Page 7 of 12 Page ID #217



  guardianship full faith and credit. 3 As a consequence, interstate guardianship

  matters often result in protracted litigation that harms families and opens the

  door to abusive practices. 4


         Of particular concern is a tactic known as “granny snatching.” The AARP

  has described granny snatching as “a deplorable tactic by which someone who

  wants control over a vulnerable individual and their assets – usually when there’s

  a sizeable estate involved – ‘snatches’ that individual across state lines and

  immediately files for guardianship, preventing control or contact with the

  individual by other family members.” 5


         Elder law practitioners uniformly decry the practice, arguing that it isolates

  and exploits vulnerable seniors; results in expensive, protracted litigation that




  3
    A sister state is not required by full faith and credit to enforce a judicial action that is
  interlocutory or subject to modification under the law of the rendering state. See Morris v. Morris,
  273 F.2d 678, 681 (7th Cir. 1960). Typically, guardianship orders are modifiable in the rendering
  state. As is relevant here, under the Illinois and Texas guardianship statutes, the appointment of a
  guardian is subject to modification. Tex. Prob. Code Ann. § 761; 755 ILCS 5/11a-20 (termination
  of adjudication of disability, revocation of letters, and modification); 755 ILCS 5/11a-19 (notice of
  ward’s right to seek modification).

  4
    See e.g., Brittany Griffin Smith, Granny Snatching and Personal Jurisdiction-an Argument for A
  New Federal Interpleader, 100 KY. L.J. 411 (2012); Stephen Rauls, Family Law—Guardianship—
  The Uniform Adult Guardianship and Protective Proceedings Jurisdiction Act: A Uniform Solution
  to an Arkansas Problem, 33 U. ARK. LITTLE ROCK L. REV. 75 (2010); Sally Balch Hurme,
  Crossing State Lines: Issues and Solutions in Interstate Guardianships, 37 STETSON L. REV. 87,
  110-12 (2007); Charlene D. Daniel & Paula L. Hannaford, Creating the “Portable” Guardianship:
  Legal and Practical Implications of Probate Court Cooperation in Interstate Guardianship Cases,
  13 QUINNIPIAC PROB. L.J. 351 (1999); Financial Abuse Of Elders And Other At-Risk Adults,
  SW028 ALI-CLE 373.

  5
   Letter from Melissa Seifert, Manager of Advocacy, AARP Michigan, to Klint Kesto, Chairman, and
  members        of     the      House      Judiciary    Committee        (Dec.      8,    2015),
  http://house.michigan.gov/sessiondocs/2015-2016/testimony/Committee339-12-8-2015.pdf.
Case 3:16-cv-00288-DRH-SCW Document 31 Filed 10/26/16 Page 8 of 12 Page ID #218



  may deplete an estate; aggravates family disputes; delays needed care; and

  facilitates elder abuse. 6


            In an effort to address this and other problematic practices in the field of

  adult guardianship, the Uniform Adult Guardianship and Protective proceedings

  Jurisdiction Act (“the Act”) was established. 7 The Act provides clear guidelines for

  determining which state has jurisdiction when guardianship disputes cross state

  boundaries. 8 Typically, the senior’s “home” state (where the senior has been

  physically present over the last six months) will have original jurisdiction. 9


            The Act’s uniform system avoids the legal and personal fiascos that are

  created      when   guardianship      matters    are    being    pursued     in   two    states

  simultaneously. Accordingly, practitioners across the Country consistently

  promote the Act as a vital tool in protecting vulnerable seniors and their




  6
    See e.g., Brittany Griffin Smith, Granny Snatching and Personal Jurisdiction-an Argument for A
  New Federal Interpleader, 100 KY. L.J. 411 (2012); Stephen Rauls, Family Law—Guardianship—
  The Uniform Adult Guardianship and Protective Proceedings Jurisdiction Act: A Uniform Solution
  to an Arkansas Problem, 33 U. ARK. LITTLE ROCK L. REV. 75 (2010); Sally Balch Hurme,
  Crossing State Lines: Issues and Solutions in Interstate Guardianships, 37 STETSON L. REV. 87,
  110-12 (2007); Charlene D. Daniel & Paula L. Hannaford, Creating the “Portable” Guardianship:
  Legal and Practical Implications of Probate Court Cooperation in Interstate Guardianship Cases,
  13 QUINNIPIAC PROB. L.J. 351 (1999); Financial Abuse Of Elders And Other At-Risk Adults,
  SW028 ALI-CLE 373.

  7
      For    information    on    the    Act,    see   the   Uniform    Law   Commission’s
  webpage, http://www.uniformlaws.org/Act.aspx?title=Adult%20Guardianship%20and%20Protectiv
  e%20Proceedings%20Jurisdiction%20Act.

  8
     See Unif. Adult Guardianship & Protective Proceedings Jurisdiction Act, A Summary,
  http://www.uniformlaws.org/ActSummary.aspx?title=Adult%20Guardianship%20and%20Protectiv
  e%20Proceedings%20Jurisdiction%20Act.

  9
      Id.
Case 3:16-cv-00288-DRH-SCW Document 31 Filed 10/26/16 Page 9 of 12 Page ID #219



  families. 10 Indeed, since its enactment, the Act has been endorsed by elder law

  practitioners and numerous authoritative organizations in the field of elder law. 11

  Additionally, the Act has been adopted by 45 states, the District of Columbia, and

  Puerto Rico. 12


             Unfortunately for the parties involved in this case, but predictably Texas

  has not adopted the Act. Accordingly, it is of no assistance to Ms. Kusmanoff, this

  litigation will be unnecessarily protracted, and justice will be delayed for Ms.

  Kusmanoff and her family. Although the Court is sympathetic to Ms. Kusmanoff’s

  plight, for the reasons described below, the Court has no jurisdiction in this

  matter. Accordingly, the action must be dismissed and the parties must proceed

  in state court.


                                 IV.    STANDARD OF REVIEW


             The subject motion is filed pursuant to Rule 12(b)(1) of the Federal Rules of

  Civil Procedure. Rule 12(b)(1) requires dismissal if the court lacks subject matter

  jurisdiction. Fed. R. Civ. P. 12(b)(1). The Court accepts all well-pleaded

  10
    See e.g., Peter Page, Dealing with ‘Granny Snatching’ Model Law Aims to Untangle Adult
  Guardianship,        National        Law       Journal,       Nov.       12,       2007,
  http://www.nationallawjournal.com/id=900005495364/Dealing-with-Granny-snatching; Levin &
  Perconti, States Seek Law to Prevent “Granny Snatching”, Illinois Nursing Home Abuse Blog, May
  22, 2012, http://www.nationallawjournal.com/id=900005495364/Dealing-with-Granny-snatching.

  11
    The Act has been endorsed by AARP, the Alzheimer’s Association, the National Guardianship
  Association (NGA), the Conference of Chief Justices and Conference of State Court Administrators
  (CCJ/COSCA), the National College of Probate Judges (NCPJ), and the National Academy of Elder
  Law Attorneys (NAELA). The Council of State Governments (CSG) lists UAGPPJA as “Suggested
  State Legislation.” Unif. Adult Guardianship & Protective Proceedings Jurisdiction Act, A Few
  Facts,http://www.uniformlaws.org/Act.aspx?title=Adult%20Guardianship%20and%20Protective%2
  0Proceedings%20Jurisdiction%20Act .

  12
       Id.
Case 3:16-cv-00288-DRH-SCW Document 31 Filed 10/26/16 Page 10 of 12 Page ID #220



  allegations from the complaint as true and draws all reasonable inferences in the

  plaintiff's favor. See Franzoni v. Hartmarx Corp., 300 F.3d 767, 771 (7th Cir.

  2002). When considering a motion to dismiss under Rule 12(b)(1), the district

  court “may properly look beyond the jurisdictional allegations of the complaint

  and view whatever evidence has been submitted on the issue to determine

  whether in fact subject matter jurisdiction exists.” Capitol Leasing Co. v. F.D.I.C.,

  999 F.2d 188, 191 (7th Cir. 1993).


                                   V.     DISCUSSION


        This case falls within diversity jurisdiction. See 28 U.S.C. § 1332(a).

  However, the Burgetts contend jurisdiction is defeated by (1) the probate

  exception to federal jurisdiction; (2) the Rooker-Feldman doctrine; and (3) the

  Younger abstention doctrine. Additionally, the Burgetts contend the plaintiff lacks

  standing.


        Assuming without deciding the plaintiff has standing to bring this action,

  the case must be dismissed on the basis of the probate exception. The probate

  exception is a judicially created exception that divests a court of jurisdiction over

  cases involving probate matters. Storm v. Storm, 328 F.3d 941, 943 (7th Cir.

  2003). Under this exception, a federal court has no jurisdiction to probate a will

  or administer an estate - pure probate functions. Marshall v. Marshall, 547 U.S.

  293, 311, 126 S.Ct. 1735, 164 L.Ed.2d 480 (2006); Dragan v. Miller, 679 F.2d
Case 3:16-cv-00288-DRH-SCW Document 31 Filed 10/26/16 Page 11 of 12 Page ID #221



  712, 713 (7th Cir. 1982). The exception also precludes federal courts from

  interfering with probate proceedings. Marshall, 547 U.S. at 311.


        The prohibition on interference stems from Markham v. Allen, 326 U.S.

  490, 66 S.Ct. 296, 90 L.Ed. 256 (1946):


        [I]t has been established by a long series of decisions of this Court
        that federal courts of equity have jurisdiction to entertain suits “in
        favor of creditors, legatees and heirs” and other claimants against a
        decedent's estate “to establish their claims” so long as the federal
        court does not interfere with the probate proceedings or assume
        general jurisdiction of the probate or control of the property in the
        custody of the state court.

  Markham, 326 U.S. at 494, 66 S.Ct. 296.


        In the instant case, in order for the plaintiff to be successful on her claims,

  the court would have to render a decision on the guardianship issue in the

  plaintiff’s favor. The Burgetts are presently challenging that very issue in the

  Circuit Court of St. Clair County, Illinois. Thus, if the Court maintains

  jurisdiction over this case, it would be interfering with concurrent probate

  proceedings. Such a result is prohibited under the probate exception.

  Accordingly, the motion to dismiss for lack of subject matter jurisdiction must be

  granted.


                                  VI.    CONCLUSION


        The motions to supplement (Docs. 22 and 25) are GRANTED. The motion

  to dismiss for lack of subject matter jurisdiction (Doc. 12) is GRANTED. Further,
Case 3:16-cv-00288-DRH-SCW Document 31 Filed 10/26/16 Page 12 of 12 Page ID #222



  in light of the dismissal, the motion to quash (Doc. 29) is GRANTED. The Court

  DIRECTS the Clerk to enter judgment reflecting the same.


        IT IS SO ORDERED.

        Signed this 26th day of October, 2016.

                                                             Digitally signed by Judge David
                                                             R. Herndon
                                                             Date: 2016.10.26 11:52:37 -05'00'
                                             United States District Judge
